


  The Report of the Special Master is received and ordered filed.
 

  DECREE
 

  The joint motion of plaintiff and defendants for entry of a decree having been submitted to the Court together with the Report of the Special Master recommending that the motion be granted,
 

  It Is Ordered, Adjudged, and Decreed As Follows:
 

  1. The Report of the Special Master is hereby approved, and the motion of plaintiff and defendants for entry of a decree is granted.
 

  2. This decree determines ownership of certain portions of the bed of the former channel of the Colorado River. The decree does not relate to, nor does it have an effect upon, the political boundary between the State of California and the State of Arizona, which was set by congressionally approved compact in 1966 (Pub. L. No. 89-531, 80 Stat. 340).
 

  3. The State of California is the owner in fee simple, by virtue of its sovereignty, of those lands in the bed of the former channel of the Colorado River more particularly described in Exhibit A to this decree.
 

  4. The boundaries of the lands described in paragraph 3 above and in Exhibit A to this decree are permanent and fixed.
 

  5. The State of Arizona and the United States of America, and each of them, have no right, title, estate, or lien, what
   
   *432
   
  ever, in the lands described in paragraph 3 above and in Exhibit A to this decree, and the State of Arizona and the United States of America, and each of them, are hereby enjoined and restrained from claiming or asserting any right, title, estate, or lien, whatever, in said lands, subject to the provisions of paragraph 9 below.
 

  6. The State of Arizona is the owner in fee simple, by virtue of its sovereignty, of those lands in the bed of the former channel of the Colorado River more particularly described in Exhibit B to this decree.
 

  7. The boundaries of the lands described in paragraph 6 above and in Exhibit B to this decree are permanent and fixed.
 

  8. The State of California and the United States of America, and each of them, have no right, title, estate, or lien, whatever, in the lands described in paragraph 6 above and in Exhibit B to this decree, and the State of California and the United States of America, and each of them, are hereby enjoined arid restrained from claiming or asserting any right, title, estate, or lien, whatever, in said lands, subject to the provisions of paragraph 9 below.
 

  9. This action does not present for decision any question concerning the existence or extent of the federal navigational servitude in the lands that are the subject of this decree, and this decree makes no determination concerning that question.
 

  10. The expenses of the Special Master shall be borne by the parties as previously directed by the Court. Each party shall bear its own costs in this action.
 

  EXHIBIT A
 

  A parcel of land in the former channel of the Colorado River in Imperial County, California, adjacent to Township 9 South, Range 21 East, San Bernardino Meridian; Township 10 South Range 21 East, San Bernardino Meridian; Township 10 South, Range 22 East, San Bernardino Meri
   
   *433
   
  dian; Township 11 South, Range 22 East, San Bernardino Meridian, more particularly described as follows:
 

  BEGINNING at a point on the center line of the former channel of the Colorado River having California Coordinate System, Zone 6, coordinates of x=2,482,449.14 feet and y=387,218.39 feet, from which United States Water and Power Resources Service (formerly United States Bureau of Reclamation) Station' RUIN bears N 56°27'07" E 733.37 feet, as said points are shown on the map entitled, “Davis Lake Area Project Administrative Maps,” said map approved October 28, 1976 by the California State Lands Commission, and being on file at the office of said Commission in Sacramento, California; thence from said point of beginning, upstream along the center line of the former channel of the Colorado River, said center line being a fixed and limiting boundary of the herein described parcel, the following 377 courses:
 

  1. N 06° 11/02" E 91.76 feet;
 

  2. N 54°12'32" E 18.78 feet;
 

  3. N 12°45/10" E 174.75 feet;
 

  4. N 12°53/00" W 103.53 feet;
 

  5. N 05°0947" W 146.10 feet;
 

  6. N 13°58T0" E 87.64 feet;
 

  7. N 05°10/13" W 66.53 feet;
 

  8. N 23°3140" E 26.95 feet;
 

  9. N 36°3247" E 111.82 feet;
 

  10. N 19° 1748" W 275.69 feet;
 

  11. N 04°49/28" W 45.39 feet;
 

  12. N 25°30'26" W 64.01 feet;
 

  13. N 21°4549" W 170.09 feet;
 

  14. N 02° 1646" E 15.76 feet;
 

  15. N 26°2544" W 142.77 feet;
 

  16. N 19°59/28" W 151.68 feet;
 

  17. N 32°00'03" W 345.18 feet;
 

  18. N 03-2444" W 16.15 feet;
 

  19. N 34°25/41" W 352.66 feet;
 

  20. N 30°34'31" W 260.03 feet;
 

  21. N 36°46'58" W 310.64 feet;
 

  22. N 41 °48/53" W 306.12 feet;
 

  23. N 40-2549" W 290.08 feet;
 

  24. N 44°30'49" W 169.94 feet;
 

  25. N 30°52'29"
  
   W
  
  39.42 feet;
 

  26. N 47°4442" W 40.80 feet;
 

  27. N 21°3040" W 23.17 feet;
 

  28. N 34“34'58" W 209.82 feet;
 

  29. N 34°44'50" W 317.95 feet;
 

  30. N 34°44'47" W 291.32 feet;
 

  31. N 37°3147" W 279.41 feet;
 

  32. N 36°05'21" W 275.56 feet;
 

  33. N 37°3947" W 240.96 feet;
 

  34. N 32°0344" W 164.74 feet;
 

  35. N 26-4141" E 14.17 feet;
 

  36. N 37-0844" W 33.36 feet;
 

  37. N 35-3646" W 86.74 feet;
 

  38. N 39°4149" W 66.46 feet;
 

  39. N
  
   37°12'59" W
  
  163.13 feet;
 

  40. N 28°19/51" W 220.22 feet;
 

  41. N 34°3342" W 149.82 feet;
 

  42. N 39°16'54" W 17.91 feet;
 

  43. N 46°59/54"
  
   W
  
  65.69 feet;
 

  44. N 36-4541" W 175.14 feet;
 

 
   *434
   
  45. N 30°48,13// W 247.89 feet;
 

  46. N 35°33'18" W 233.54 feet;
 

  47. N 42°45/30" W 301.59 feet;
 

  48. N 29°31'50" W 70.64 feet;
 

  49. N 39°15'12" W 181.84 feet;
 

  50. N 34°08'26" W 287.28 feet;
 

  51. N 36°56'15" W 341.54 feet;
 

  52. N 33°51'40" W 248.93 feet;
 

  53. N 30°53'53" W 227.36 feet;
 

  54. N 28°52'32" W 133.47 feet;
 

  55. N 41°33'10" W 32.08 feet;
 

  56. N 32°30'33" W 214.79 feet;
 

  57. N 32°47'41" W 159.63 feet;
 

  58. N 41°44'15" W 149.07 feet;
 

  59. N
  
   51°38'10"
  
  W 15.67 feet;
 

  60. N 29°44'55" W 238.30 feet;
 

  61. N 25°49'43,/ W 111.43 feet;
 

  62. N 09°13'34" W 69.07 feet;
 

  63. N 21°53,52" W 147.48 feet;
 

  64. N 65°05'19" W 9.15 feet;
 

  65. N 32°30'38,/ W 38.27 feet;
 

  66. N 21°01'27" W 83.19 feet;
 

  67. N 10°39'51" E 44.53 feet;
 

  68. N 02°15/38" W 45.67 feet;
 

  69. N 44°22/08" W 27.00 feet;
 

  70. N 20°34/25/' W 93.00 feet;
 

  71. N 18°23'16// W 48.78 feet;
 

  72. N 16°26'02" W 95.55 feet;
 

  73. N 04°26/34" W 49.11 feet;
 

  74. N 08°54/12,/ W 109.59 feet;
 

  75. N 45°00'45/' W 15.45 feet;
 

  76. N 15°52/18" W 46.11 feet;
 

  77. N 23°50W' E 50.55 feet;
 

  78. N 06°27/18//
  
   W
  
  28.68 feet;
 

  79. N 29°30'20,/
  
   W
  
  14.62 feet;
 

  80. N 15'’29'04// E 39.92 feet;
 

  81. N 28°23/27// E 42.72 feet;
 

  82. N 23°04/47// E 132.80 feet;
 

  83. N 47°17'33// E 256.64 feet;
 

  84. N 48°40/23// E 89.15 feet;
 

  85. N 52°50'14" E 286.63 feet;
 

  86. N
  
   59°57'29"
  
  E 156.23 feet;
 

  87. N 62°51/03" E 103.67 feet;
 

  88. N 60o52,13" E 166.51 feet;
 

  89. N 57°00,27// E 53.17 feet;
 

  90. N 57°43'27" E 326.93 feet;
 

  91. N 68°38'25" E 38.74 feet;
 

  92. N 45°44/50" E 25.05 feet;
 

  93. N eO^S^" E 148.11 feet;
 

  94. N 52°28/50// E 136.72 feet;
 

  95. N
  
   53°4&amp;'33"
  
  E 194.46 feet;
 

  96. N 53°11'16" E 49.55 feet;
 

  97. N 80°15'07" E 22.12 feet;
 

  98. N 50°13'23,/ E 181.66 feet;
 

  99. N 69°57/50" E 40.08 feet;
 

  100. N 34°56'12// E 24.41 feet;
 

  101. N 50°47'14" E 202.15 feet;
 

  102. N 61°59'40" E 50.34 feet;
 

  103. N 47°49/50" E 49.76 feet;
 

  104. N 48°09/42// E 163.97 feet;
 

  105. N
  
   50°09'37"
  
  E 112.15 feet;
 

  106. N 27°22/23" E 134.94 feet;
 

  107. N 47°51'44" E 124.47 feet;
 

  108. N 46°01'44" E 142.53 feet;
 

  109. N 39°04/50'/ E 180.94 feet;
 

  110. N 45°09'21'/ E 189.68 feet;
 

  111. N 39°57'52" E 156.08 feet;
 

  112. N 43“26'27// E 199.19 feet;
 

  113. N 52°12/27/' E 221.41 feet;
 

  114. N 50°29'55" E 152.42 feet;
 

  115. N 52°54,27// E 179.48 feet;
 

  116. N 62°15'35" E 213.37 feet;
 

  117. N 68°45'32// E 55.26 feet;
 

  118. N 67°29'40" E 76.60 feet;
 

  119. N 65°41'07" E 165.43 feet;
 

  120. N 67°14/09" E 294.39 feet;
 

  121. N 64°24/36// E 128.78 feet;
 

  122. N 53°03'32// E 106.15 feet;
 

  123. N 70°17'39// E 35.29 feet;
 

  124. N 73°29/13" E 147.47 feet;
 

  125. N
  
   59°19'13"
  
  E 74.01 feet;
 

  126. N 30°28'52" E 18.53 feet;
 

  127. N 60°22/22// E 71.20 feet;
 

  128. N 18°45'56" E 28.50 feet;
 

  129. N 39°20'12" E 181.32 feet;
 

  130. N 15°18'44" E 22.87 feet;
 

 
   *435
   
  131. N 34°48/05,/ E 113.34 feet;
 

  132. N 01°37'33" E 25.20 feet;
 

  133. N 20°03'20" E 279.59 feet;
 

  134. N 08°48'55" E 494.65 feet;
 

  135. N 06°07'16"
  
   W
  
  329.64 feet;
 

  136. N 01°08'01" W 46.25 feet;
 

  137. N 12°04'58" W 216.22 feet;
 

  138. N 02°16'55" E 41.56 feet;
 

  139. N 12°25'25" W 199.17 feet;
 

  140. N 27° 14'52" W 38.46 feet;
 

  141. N 20°48'06" W 242.26 feet;
 

  142. N 19°51'45" W 337.38 feet;
 

  143. N 24°07'19" W 226.77 feet;
 

  144. N 27°31,47" W 169.08 feet;
 

  145. N 25°20,37" W 190.07 feet;
 

  146. N 27°40'18" W 329.72 feet;
 

  147. N 28°56'10" W 330.72 feet;
 

  148. N 24°33'34" W 60.51 feet;
 

  149. N 29°27'35" W 208.29 feet;
 

  150. N 28°05/26" W 247.46 feet;
 

  151. N 23°44,10" W 163.83 feet;
 

  152. N 13°09'48" W 254.49 feet;
 

  153. N 19°22/18" W 307.39 feet;
 

  154. N 21°47'25" W 159.63 feet;
 

  155. N 30°33'33" W 99.94 feet;
 

  156. N 29°12'13" W 207.55 feet;
 

  157. N 31°55'33" W 235.86 feet;
 

  158. N 28°51'47" W 106.13 feet;
 

  159. N 36°40'00" W 174.32 feet;
 

  160. N 02°47/21" E 19.11 feet;
 

  161. N 43°43/57" W 240.40 feet;
 

  162. N 41°01'16" W 304.70 feet;
 

  163. N 46°54'46" W 122.65 feet;
 

  164. N 40°49'49"
  
   W
  
  90.29 feet;
 

  165. N 51°59'40" W 174.20 feet;
 

  166. N 44°21/26" W 78.79 feet;
 

  167. N 54°41,29" W 220.08 feet;
 

  168. N 53°16rll" W 329.75 feet;
 

  169. N 61051'41"
  
   W
  
  110.58 feet;
 

  170. N 52°54/43" W 215.67 feet;
 

  171. N W 153.28 feet;
 

  172. N 59°29'55" W 174.49 feet;
 

  173. N
  
   56°21'47"
  
  W 191.68 feet;
 

  174. S 89°23'45" W 20.87 feet;
 

  175. N 62°40'51" W 144.58 feet;
 

  176. N 60°27,35" W 329.61 feet;
 

  177. N 58°43'43" W 350.72 feet;
 

  178. N 49°48'54" W 206.44 feet;
 

  179. N 71°14'37" W 266.43 feet;
 

  180. N 67°56'20" W 72.52 feet;
 

  181. N 64°05'13" W 230.11 feet;
 

  182. N 68°36'52" W 337.96 feet;
 

  183. N 68°46'07" W 60.86 feet;
 

  184. N 57°31'28" W 62.02 feet;
 

  185. N 69°12'17" W 194.71 feet;
 

  186. N 74°52/18" W 51.54 feet;
 

  187. N OOnO'^" W 91.32 feet;
 

  188. N 72°23/57" W 284.72 feet;
 

  189. N 66°43'26" W 289.75 feet;
 

  190. N 71°49'29" W 317.90 feet;
 

  191. N 69°12'03"
  
   W
  
  238.91 feet;
 

  192. N 64°15/14" W 72.27 feet;
 

  193. S 65°27'32" W 40.27 feet;
 

  194. N 74°15'53" W 194.46 feet;
 

  195. N 73°49/49" W 290.50 feet;
 

  196. N 72°33/14" W 374.10 feet;
 

  197. N 67°46/21" W 342.36 feet;
 

  198. N 57°56/05" W 76.94 feet;
 

  199. N S7°47'11" W 87.90 feet;
 

  200. N 72°42/55" W 288.96 feet;
 

  201. N 71°19/03" W 300.30 feet;
 

  202. N 80°29'32" W 203.62 feet;
 

  203. S 89° 12'33" W 61.22 feet;
 

  204. N 70°29'19" W 104.61 feet;
 

  205. N 79°25/58" W 67.02 feet;
 

  206. N
  
   80°35'3l"
  
  W 373.72 feet;
 

  207. N 80°52/09" W 380.68 feet;
 

  208. N 77°30'29" W 200.60 feet;
 

  209. S 80°07/35" W 41.78 feet;
 

  210. N 68°08'20" W 43.73 feet;
 

  211. N 82°47/20" W 337.50 feet;
 

  212. N 78°02'35" W 194.88 feet;
 

  213. N 77°39,54" W 170.67 feet;
 

  214. N 77°07'59" W 330.55 feet;
 

  215. N 79°02r44" W 201.15 feet;
 

  216. N 70°18,48" W 173.92 feet;
 

 
   *436
   
  217. N 78°14'27" W 273.38 feet;
 

  218. N
  
   86°10'16"
  
  W 121.38 feet;
 

  219. N 66°59'20" W 23.64 feet;
 

  220. N 77°12/59// W 426.70 feet;
 

  221. N 83°15'03" W 185.75 feet;
 

  222. N 73°51'47"
  
   W
  
  182.15 feet;
 

  223. N 71°13,45" W 167.21 feet;
 

  224. S 75°37'59" W 30.89 feet;
 

  225. N 71°33'44" W 234.05 feet;
 

  226. N 80°43'52" W 137.24 feet;
 

  227. N 69°41'51" W 273.22 feet;
 

  228. N 70°43'07// W 254.91 feet;
 

  229. N 66°56'08" W 301.42 feet;
 

  230. N 63°53'15" W 256.28 feet;
 

  231. N 58°33/26" W 202.83 feet;
 

  232. N
  
   6V5Y11" W
  
  184.76 feet;
 

  233. N 52°03/07// W 236.22 feet;
 

  234. N
  
   59°50'4l"
  
  W 424.43 feet;
 

  235. N 57°02/33// W 230.68 feet;
 

  236. N 48°19'51" W 103.33 feet;
 

  237. N 40°22'48" W 238.16 feet;
 

  238. N 27°29'10" W 445.07 feet;
 

  239. N 27°28'12// W 417.56 feet;
 

  240. N 23°53'28// W 462.72 feet;
 

  241. N 20°07'44" W 182.40 feet;
 

  242. N 02°09'48'/ W 110.47 feet;
 

  243. N 45°05/17" W 66.80 feet;
 

  244. N 24°47/08" W 167.79 feet;
 

  245. N 04°37'48" E 25.09 feet;
 

  246. N 25°09/10// W 194.51 feet;
 

  247. N 47°03,42" W 36.76 feet;
 

  248. N 23°12/08" W 208.06 feet;
 

  249. N
  
   31°51'35"
  
  W 213.36 feet;
 

  250. N 25°18/01// W 275.95 feet;
 

  251. N 22°57'02,/ W 335.59 feet;
 

  252. N
  
   35°58'44"
  
  W 89.13 feet;
 

  253. N 24°17'16// W 160.88 feet;
 

  254. N 75°21/26// W 17.52 feet;
 

  255. N 27°01'17// W 188.36 feet;
 

  256. N ÍS^S^'
  
   W
  
  227.87 feet;
 

  257. N 40°21'42" W 136.76 feet;
 

  258. N 24°24/56// W 197.69 feet;
 

  259. N 23^°37'41" W 184.07 feet;
 

  260. N 26°21/53" W 373.91 feet;
 

  261. N
  
   30°13'3G"
  
  W 285.83 feet;
 

  262. N 23°37/13" W 44.79 feet;
 

  263. N 32°55'17" W 111.43 feet;
 

  264. N 70°24/21// W 45.64 feet;
 

  265. N
  
   38°36'29"
  
  W 28.58 feet;
 

  266. N 27°45/40,/ W 98.67 feet;
 

  267. N 46°12'44/' W 44.96 feet;
 

  268. N 24°49'30//
  
   W
  
  178.43 feet;
 

  269. N
  
   0h°35'43"
  
  E 26.71 feet;
 

  270. N
  
   22°59'42"
  
  W 38.82 feet;
 

  271. N 10°02'49,/ E 30.61 feet;
 

  272. N 19°34/05// W 114.65 feet;
 

  273. N
  
   05°33'59"
  
  E 13.45 feet;
 

  274. N 12°59'57/' W 110.34 feet;
 

  275. N 01°10059" E 216.95 feet;
 

  276. N
  
   Q7°13'33"
  
  E 110.78 feet;
 

  277. N 06W55" E 131.88 feet;
 

  278. N ^“Ol'ie" E 173.06 feet;
 

  279. N 04°06'19" W 44.77 feet;
 

  280. N 34°06'19" E 126.69 feet;
 

  281. N 40°46/38" E 329.61 feet;
 

  282. N 27°01/26// E 173.94 feet;
 

  283. N 46°34/13// E 311.34 feet;
 

  284. N 46°36'53" E 361.75 feet;
 

  285. N 57°24'33,/ E 118.71 feet;
 

  286. N 52°19,49// E 242.35 feet;
 

  287. N 47°03/21// E 177.59 feet;
 

  288. N 52°11/08" E 276.80 feet;
 

  289. N 52°23,33" E 387.60 feet;
 

  290. N
  
   39°39'32"
  
  E 300.47 feet;
 

  291. N 24°24/38" E 351.30 feet;
 

  292. N
  
   18°55'03"
  
  E 170.32 feet;
 

  293. N 16°04/01// E 220.64 feet;
 

  294. N 27°29/02// E 177.93 feet;
 

  295. N 33°39,19" E 182.00 feet;
 

  296. N 44°33'29" E 266.80 feet;
 

  297. N 37°44/11// E 162.18 feet;
 

  298. N 39°45'24" E 191.62 feet;
 

  299. N 44°ll/35// E 141.82 feet;
 

  300. N 49°35'13// E 289.05 feet;
 

  301. N 67°47,17// E 434.12 feet;
 

  302. N
  
   50°05'56"
  
  E 187.21 feet;
 

 
   *437
   
  303. N 53°46'23" E 313.82 feet;
 

  304. N 57°52'30" E 229.52 feet;
 

  305. N 34°44'43" E 240.98 feet;
 

  306. N 13°51'55" E 139.72 feet;
 

  307. N 30°29'51" E 218.39 feet;
 

  308. N 09°00,09// E 310.43 feet;
 

  309. N 03°29'17" E 364.22 feet;
 

  310. N 21°07'35" E 112.02 feet;
 

  311. N 25°42'13" E 133.57 feet;
 

  312. N 45°58'18" E 53.38 feet;
 

  313. N 60°19'59" E 51.98 feet;
 

  314. N 37°15'32" E 182.58 feet;
 

  315. N 15°23'58" E 83.49 feet;
 

  316. N 15°42'01" E 261.08 feet;
 

  317. N 36°24'20" W 51.58 feet;
 

  318. N 15°15'01" E 196.32 feet;
 

  319. N 13°42'25" W 206.28 feet;
 

  320. N 32°40'58" E 42.13 feet;
 

  321. N 32°31'26" E 214.62 feet;
 

  322. N 44°06/21// E 17.67 feet;
 

  323. N 30°59'00" E 115.35 feet;
 

  324. N 25°35'07" E 44.46 feet;
 

  325. N 18°27'29" E 109.88 feet;
 

  326. N 22°50'29" E 131.46 feet;
 

  327. N 05°32'17" E 162.37 feet;
 

  328. N 01°04'56" W 188.48 feet;
 

  329. N 08°30,21// W 126.56 feet;
 

  330. N 16°47'18" E 224.07 feet;
 

  331. N 30°43,44" E 88.32 feet;
 

  332. N 41°35/58" E 181.80 feet;
 

  333. N 41°26'54" E 4.11 feet;
 

  334. N 62°19'06" E 53.47 feet;
 

  335. N 42°17'15" E 75.16 feet;
 

  336. N 42°33'08" E 98.01 feet;
 

  337. N 14°53'12,/ E 16.50 feet;
 

  338. N 05°14'15" W 25.31 feet;
 

  339. N 39°32'31" E 98.80 feet;
 

  340. N 04°53'40" W 145.92 feet;
 

  341. N 09°04'54" E 362.65 feet;
 

  342. N 14°50'01" E 304.17 feet;
 

  343. N 01°28'58" E 71.48 feet;
 

  344. N 02°08'33" E 176.53 feet;
 

  345. N 01°57/51" W 319.75 feet;
 

  346.'N 01°20'24" W 243.11 feet;
 

  347. N 09°08'02" E 139.88 feet;
 

  348. N
  
   13°07'32"
  
  W 209.36 feet;
 

  349. N 06°26'13"
  
   W
  
  175.51 feet;
 

  350. N 05°37'45" W 293.41 feet;
 

  351. N 06°34'59" W 217.59 feet;
 

  352. N 07°47'48" W 290.66 feet;
 

  353. N 10°41'30" W 267.70 feet;
 

  354. N 04°47'01,/ W 72.08 feet;
 

  355. N 14°28'47" W 234.20 feet;
 

  356. N 0Ó°19'43" W 116.62 feet;
 

  357. N 07°44'46" W 279.97 feet;
 

  358. N 11°32'18" W 356.71 feet;
 

  359. N 11°07'49" W 213.28 feet;
 

  360. N 14°30'09" W 272.42 feet;
 

  361. N 06°36/37"
  
   W
  
  286.80 feet;
 

  362. N 08°28/38" W 238.45 feet;
 

  363. N 17°03'40" W 151.67 feet;
 

  364. N
  
   09°18'29"
  
  W 342.55 feet;
 

  365. N 14°40'23" W 256.29 feet;
 

  366. N
  
   U°18'Q3"
  
  W 363.43 feet;
 

  367. N ll°45/38" E 206.67 feet;
 

  368. N 41°54'52// E 321.85 feet;
 

  369. N 63°25'44" E 273.18 feet;
 

  370. S 74°04'12" E 474.64 feet;
 

  371. N 88°03/52" E 416.71 feet;
 

  372. S 66°20'00" E 572.97 feet;
 

  373. S 80°24'37" E 222.10 feet;
 

  374. S 89°46/40" E 349.53 feet;
 

  375. N 82°26r19" E 391.23 feet;
 

  376. N 66°00'59" E 497.08 feet;
 

  377. N 58°38'57" E 276.46 feet to a standard California State Lands Commission brass tablet set in concrete stamped “N-MID-CAL 1981” having California Coordinate System, Zone 6 coordinates of x=2,472,-838.61 feet and y=432,666.01 feet, said tablet being located on the westerly boundary of the parcels of land taken by condemnation in
  
   United States
  
  v.
  
   243.25 Acres of
  
 
   *438
   

   Land,
  
  Civil No. 3505-SD Smith (S. D. Cal. 1973) and
  
   United States
  
  v.
  
   67.57 Acres of Land,
  
  Civil No. 5925-Phx-Craig (D. Ariz. 1972); thence leaving said centerline of the former channel,
 

  378. Northeasterly 278.84 feet along said westerly boundary, being a fixed and limiting boundary of the herein described parcel, on the arc of a curve, concave westerly, having a radius of 15,350 feet, to a point on said curve subtended by a chord which bears N 06°51/25// E 278.83 feet, said point being mon-umented with a standard California State Lands Commission brass tablet set in concrete, stamped “N-RB-CAL 1891”, having California Coordinate System Zone 6 coordinates of x=2,472,871.90 feet and y=432,942.85 feet, from which California State Lands Commission Monument “PI-14” bears N 29°11'26" E 613.52 feet, as said monument is shown on said map; thence downstream along a fixed and limiting boundary of the herein described parcel, the following 27 courses:
 

  379. S 47°59'19" W 68.50 feet;
 

  380. S 60°07/46// W 395.55 feet;
 

  381. S 63°03'23" W 406.08 feet;
 

  382. S 82°42'48" W 307.48 feet;
 

  383. N 87°47'25" W 311.23 feet;
 

  384. N 73°24'25" W 206.60 feet;
 

  385. N 58°24'42" W 393.27 feet;
 

  386. N 67°05'29" W 259.46 feet;
 

  387. S 84°46'40" W 186.77 feet;
 

  388. S 73°38'32" W 305.36 feet;
 

  389. N 68°41'39" W 214.67 feet;
 

  390. N 85°22'33" W 272.89 feet;
 

  391. S 75°15'23" W 216.12 feet;
 

  392. S 50°14'50" W 139.18 feet;
 

  393. S 43°55'50" W 265.21 feet;
 

  394. S 46°19'31" W 275.14 feet;
 

  395. S 15012'01" W 206.91 feet;
 

  396. S 26°13'45" E 157.09 feet;
 

  397. S 19°00'46" E 279.67 feet;
 

  398. S 29°05'57" E 98.41 feet;
 

  399. S 18o06'17" E 215.54 feet;
 

  400. S 06°52'21" E 382.84 feet;
 

  401. S 05o18'02" E 273.86 feet;
 

  402. S 08°14'28" E 324.68 feet;
 

  403. S 13°16'00" E 308.30 feet;
 

  404. S 09°19'42" E 216.36 feet;
 

  405. S 11°35'03// E 233.81 feet, to a point having California Coordinate System, Zone 6 coordinates of x=2,469,569.55 feet and y=429,-714.41 feet; thence,
 

  406. S 78°09'23" W 18 feet, more or less, to the special meander corner for Section 1, TIOS, R21E, SBM, as shown on the United States Bureau of Land Management plat accepted October, 1961; thence downstream along a fixed and limiting boundary of the herein described parcel, the following 21 courses:
 

  407. S 11°50'34" E 659.97 feet to United States Bureau of Land Management monument AP 1
 

  408. S 06°05'34" E 745.77 feet to United States Bureau of Land Management monument AP 2
 

  409. S 00°09'26" W 461.98 feet to United States Bureau of Land Management monument AP 3
 

  410. S 00°50'34" E 329.98 feet to United States Bureau of Land Management monument AP 4
 

  411. S 03°20'26" W 454.72 feet to United States Bureau of Land Management monument AP 5
 

 
   *439
   
  412. S 06°54/26// W 514.78 feet to United States Bureau of Land Management monument AP 6
 

  413. S 34°39/26" W 257.39 feet to United States Bureau of Land Management monument AP 7
 

  414. S 14°39'26" W 296.99 feet to United States Bureau of Land Management monument AP 8
 

  415. S 42°54'26" W 567.57 feet to United States Bureau of Land Management monument AP 9
 

  416. S 52°39'26" W 237.59 feet to United States Bureau of Land Management monument AP 10
 

  417. S 36°54'26" W 389.38 feet to United States Bureau of Land Management monument AP 11
 

  418. S 02°09/26" W 329.98 feet to United States Bureau of Land Management monument AP 12
 

  419. S 11°39'26" W 356.38 feet to United States Bureau of Land Management monument AP 13
 

  420. S 06°05'34" E 362.98 feet to United States Bureau of Land Management monument AP 14
 

  421. S 15°20'34" E 448.78 feet to United States Bureau of Land Management monument AP 15
 

  422. S 01°20'34" E 230.99 feet to United States Bureau of Land Management monument AP 16
 

  423. S 20°24/26// W 428.98 feet to United States Bureau of Land Management monument AP 17
 

  424. S 16°54,26" W 593.97 feet to United States Bureau of Land Management monument AP 18
 

  425. S 27°39'26" W 415.78 feet to United States Bureau of Land Management monument AP 19
 

  426. S 30°39'26" W 230.99 feet;
 

  427. S 61°18'26" W 392.02 feet, to the Witness Point between Sections 12 and 13, TIOS, R21E, SBM, as shown on said plat, accepted October, 1961; thence continuing downstream along a fixed and limiting boundary,
 

  428. S 54°06,09" W 841 feet, more or less, to the Witness Point between Sections 13 and 14, T10S, R21E, SBM, as shown on said plat, accepted October, 1961; thence continuing downstream along a fixed and limiting boundary of the herein described parcel, the following two courses:
 

  429. S 22°09'26" W 475.18 feet;
 

  430. S 30°33'26" W 1207.08 feet, to the special meander corner on the extension of the East 1/16 line of Section 14, TIOS, R21E, SBM, as shown on said plat, accepted October, 1961; thence,
 

  431. S 44°09'26" W 1476.35 feet, to the special meander corner on the extension of the East-West cen-terline of Section 14, TIOS, R22E, SBM, as shown on said plat; thence continuing downstream along a fixed and limiting boundary of the herein described parcel, the following five courses:
 

  432. S 48°39'26" W 950.36 feet;
 

  433. S 07°24'26" W 329.98 feet;
 

  434. S 38°54,26// W 475J8 feet;
 

  435. S 07°24'26" W 600.57 feet;
 

  436. S 06°56'34" E 441.52 feet, to the meander comer between Sections 14 and 23, TIOS, R21E, SBM, as shown on said plat accepted October, 1961; thence,
 

 
   *440
   
  437. N 83°03'26" E 14 feet, more or less, to a point having California Coordinate System, Zone 6 coordinates of x=2,464,185.22 feet and y=416,378.36 feet; thence, continuing downstream along a fixed and limiting boundary the following ten courses:
 

  438. S 22°59/42" E 50.57 feet;
 

  439. S 05°35'47" W 53.42 feet;
 

  440. S 19°17'00" E 81.15 feet;
 

  441. S 28°44'01" E 98.45 feet;
 

  442. S 46°12/44// E 89.91 feet;
 

  443. S 00°54/42" E 38.96 feet;
 

  444. S 38°36'29" E 57.16 feet;
 

  445. S 70°24'21// E 91.28 feet;
 

  446. S 23°37/13" E 89.57 feet;
 

  447. S 32°17/14" E 170.27 feet, to a point having California Coordinate System, Zone 6 coordinates of x=2,464,587.93 feet and y=415,-713.24 feet; thence,
 

  448. S 22°34'09" E 73 feet, more or less, to a point being the northeasterly corner of Parcel 2, as said Parcel 2 is described in the deed recorded in Book 1423 of Official Records, page 1774, in the Office of the County Recorder of Imperial County, State of California; thence,
 

  449. S 22°34/09" E 107 feet, more or less, to a point having California Coordinate System, Zone 6 coordinates of x=2,464,656.97 feet and y=415,547.13 feet; thence, the following 14 courses:
 

  450. S 19o52'01" E 161.22 feet;
 

  451. S 10°45'08" E 150.08 feet;
 

  452. S 19°26'18" E 188.71 feet;
 

  453. S 22°09'00" E 187.41 feet;
 

  454. S 29°58'22" E 202.91 feet;
 

  455. S 22°45'08" E 214.61 feet;
 

  456. S 28°14'06" E 224.50 feet;
 

  457. S 75°21'26// E 35.05 feet;
 

  458. S 06053'21" W 31.35 feet;
 

  459. S 38°50'29" E 73.95 feet;
 

  460. S 33°57'12" E 104.47 feet;
 

  461. S
  
   10°37'44"
  
  E 105.61 feet;
 

  462. S 21°52'27" E 165.04 feet;
 

  463. S 24°30'08" E 342.15 feet, to a point having California Coordinate System, Zone 6 coordinates of x=2,465,521.55 feet and y=413,-572.51 feet; thence,
 

  464. S 26°07'31,/ E 14 feet, more or less, to a point being the southeasterly corner of said Parcel 2; thence,
 

  465. S 26°07/31// E 210 feet, more or less, to a point having California Coordinate System, Zone 6 coordinates of x=2,465,620.31 feet and y=413,371.14 feet; thence, the following 55 courses:
 

  466. S 26°00'19" E 171.65 feet;
 

  467. S 47°03'42// E 73.52 feet;
 

  468. S 22°51/02" E 179.82 feet;
 

  469. S 04°37'48" W 50.17 feet;
 

  470. S 27°58'13// E 111.98 feet;
 

  471. S 45°05,17" E 133.59 feet;
 

  472. S 09°12/54" W 49.89 feet;
 

  473. S 23°46'02// E 206.79 feet;
 

  474. S 20°19,41// E 209.44 feet;
 

  475. S
  
   18°05'12"
  
  E 233.53 feet;
 

  476. S 26°51/02// E 250.32 feet;
 

  477. S 23°56'13,/ E 170.98 feet;
 

  478. S 29°41/34// E 147.69 feet;
 

  479. S 11°42'23// E 98.92 feet;
 

  480. S 32°35/31" E 124.16 feet;
 

  481. S
  
   30°53'45"
  
  E 120.22 feet;
 

  482. S 43°07'02// E 256.53 feet;
 

  483. S 48°19/51// E 206.65 feet;
 

  484. S 67°52,30// E 183.87 feet;
 

  485. S 71°21'51// E 13655 feet;
 

  486. S 61°15/46" E 196.34 feet;
 

  487. S 54°59,08// E 212.50 feet;
 

 
   *441
   
  488. S 55°04'36" E 191.73 feet;
 

  489. S 61°25'23" E 161.91 feet;
 

  490. S 52°43'26// E 189.29 feet;
 

  491. S 62°32'05" E 229.42 feet;
 

  492. S 24°40'26"
  
   W
  
  24.12 feet;
 

  493. S 31°03'06" E 16.75 feet;
 

  494. N 51°04'31" E 31.74 feet;
 

  495. S 66°58,16" E 156.62 feet;
 

  496. S 63°57'36" E 190.86 feet;
 

  497. S 70°39/01" E 283.46 feet;
 

  498. S 67°09'09" E 279.07 feet;
 

  499. N 79°03'56" E 50.29 feet;
 

  500. S 71o21'30" E 97.26 feet;
 

  501. S 77°39/39// E 196.21 feet;
 

  502. S 72°52'22// E 211.00 feet;
 

  503. S 71°11'05" E 169.14 feet;
 

  504. N 88°21 '14" E 132.27 feet;
 

  505. S 79°17'01" E 190.11 feet;
 

  506. S 75°43'12" E 311.68 feet;
 

  507. S 56°59'20" E 47.28 feet;
 

  508. N 79°03'56" E 33.53 feet;
 

  509. S 76°25'43" E 351.79 feet;
 

  510. S 61°59'02" E 99.95 feet;
 

  511. S 78°10'25" E 224.11 feet;
 

  512. S 79°43/39" E 181.74 feet;
 

  513. S 78°05'30// E 151.35 feet;
 

  514. S 75°07.34" E 191.59 feet;
 

  515. S 81°32/25" E 212.22 feet;
 

  516. S 78°59'26" E 180.24 feet;
 

  517. S 87°17'16" E 140.12 feet;
 

  518. S 68°08'20" E 87.47 feet;
 

  519. N 80°07/35// E 83.57 feet;
 

  520. S 80°39'14" E 136.27 feet, to a point having California Coordinate System, Zone 6 coordinates of x=2,472,454.64 feet and y=409,-154.43 feet; thence,
 

  521. S 80°14'07" E 107 feet, more or less, to the true point for the meander comer of the westerly line of fractional Section 30, TIOS, R22E, SBM, as said meander comer is shown on the United States Bureau of Land Management plat, accepted July, 1963; thence downstream along a fixed and limiting boundary of the herein described parcel, the following six courses:
 

  522. S 79°30,46" E 676.47 feet;
 

  523. S 78°54'46" E 609.81 feet;
 

  524. S 69°05'46// E 277.19 feet;
 

  525. S 75°51/46// E 209.87 feet;
 

  526. S 64°51/46// E 317.45 feet;
 

  527. S 71°28/46// E 374.20 feet, to the true point for the special meander corner at the termination of the division line in said Section 30, as shown on said plat; thence,
 

  528. N 17°19/32// E 3 feet, more or less, to a point having California Coordinate System, Zone 6 coordinates of x=2,474,929.38 feet and y=408,495.31 feet; thence the following 63 courses:
 

  529. S 72°40/28" E 48.56 feet;
 

  530. S 72°44'56/' E 272.15 feet;
 

  531. S 76°31'58,/ E 278.42 feet;
 

  532. S 70°49/35// E 238.47 feet;
 

  533. S 70° 17/22// E 299.32 feet;
 

  534. S 68°27/ll// E 309.01 feet;
 

  535. S 72°00'50// E 312.35 feet;
 

  536. S 53°14/15// E 54.49 feet;
 

  537. S 74°52'18,/ E 103.07 feet;
 

  538. S 66°22/25" E 160.16 feet;
 

  539. S 31°14/08// E 22.41 feet;
 

  540. S 68°46,07// E 121.72 feet;
 

  541. S 69°49/10// E 306.13 feet;
 

  542. S 66° 14'00" E 322.42 feet;
 

  543. S 63°00'21" E 301.63 feet;
 

  544. S
  
   58°19'24:"
  
  E 137.83 feet;
 

  545. S 64°23/36// E 374.30 feet;
 

  546. S 58°39/16// E 183.74 feet;
 

  547. S 64°07'26,/ E 125.36 feet;
 

  548. S 40o17,37,, E 24.04 feet;
 

  549. S
  
   63°33'22"
  
  E 124.65 feet;
 

  550. S 55°37/48" E 257.52 feet;
 

 
   *442
   
  551. S 68°31'00" E 87.95 feet;
 

  552. S 56°32'33,/ E 149.69 feet;
 

  553. S 57°13'54" E 219.68 feet;
 

  554. S
  
   52°33'43"
  
  E 91.99 feet;
 

  555. S 75°39'40" E 30.77 feet;
 

  556. S 51°17'24" E 169.35 feet;
 

  557. S 54°59'34" E 156.48 feet;
 

  558. S 50°10'27" E 260.94 feet;
 

  559. S 49°36'24" E 258.49 feet;
 

  560. S 44°34'13" E 163.10 feet;
 

  561. S 37°26'05" E 300.23 feet;
 

  562. S 42°48/59// E 170.19 feet;
 

  563. S 33°29'47" E 265.71 feet;
 

  564. S 33°01'00" E 255.36 feet;
 

  565. S 29°18/07// E 246.50 feet;
 

  566. S 33°35'14" E 95.73 feet;
 

  567. S 20°47'02" E 113.97 feet;
 

  568. S 20°23/07// E 207.22 feet;
 

  569. S ÍO^O^I" E 96.42 feet;
 

  570. S 13°36r45r' E 235.13 feet;
 

  571. S 19°38'33" E 122.74 feet;
 

  572. S 25°57'07" E 104.91 feet;
 

  573. S 27°15'17" E 228.13 feet;
 

  574. S
  
   36°19'37"
  
  E 128.72 feet;
 

  575. S 24°33/34// E 121.02 feet;
 

  576. S 29°04'39" E 145.68 feet;
 

  577. S 26°59/27" E 265.97 feet;
 

  578. S 25o47'03" E 364.93 feet;
 

  579. S
  
   18°56'14"
  
  E 81.90 feet;
 

  580. S
  
   3Q°Q1'37"
  
  E 91.68 feet;
 

  581. S 24°08/33// E 324.37 feet;
 

  582. S 21°12/50" E 302.39 feet;
 

  583. S 26°21'17" E 109.66 feet;
 

  584. S 17°44'09" E 132.95 feet;
 

  585. S 14°17'33" E 225.66 feet;
 

  586. S OS^'ll" E 181.58 feet;
 

  587. S 01°08/01// E 92.51 feet;
 

  588. S
  
   05°10'25"
  
  E 229.55 feet;
 

  589. S 02°20'32" W 225.35 feet;
 

  590. S 09o55'39" W 285.43 feet;
 

  591. S
  
   17°15'36"
  
  W 182.74 feet;
 

  592. S 29°35'16" W 133.46 feet, to a point having California Coordinate System, Zone 6 coordinates of x=2,482,137.72 feet and y=400,-326.43 feet; thence,
 

  593. N 60°24'44" W 15 feet, more or less, to the meander corner between Section 32, TIOS, R22E, SBM and Section 5, TUS, R22E, SBM, as shown on the United States Bureau of Land Management plat accepted May, 1962; thence downstream along a fixed and limiting boundary of the herein described parcel, the following 21 courses:
 

  594. S 44°08'31" W 270.48 feet;
 

  595. S 61°23'31" W 738.88 feet;
 

  596. S 64°38/31" W 263.88 feet;
 

  597. S 67°38'31" W 402.42 feet;
 

  598. S 54°38'31// W 296.87 feet;
 

  599. S 47°53/31// W 257.28 feet;
 

  600. S 42°23'31// W 527.76 feet;
 

  601. S 44°53,31,/
  
   W
  
  329.85 feet;
 

  602. S 34°23'31" W 250.69 feet;
 

  603. S
  
   49°38'31"
  
  W 659.70 feet;
 

  604. S 52°23'31" W 323.25 feet;
 

  605. S
  
   58°23'3l"
  
  W 415.61 feet;
 

  606. S 56W31" W 171.52 feet;
 

  607. S 59°34'31" W 286.31 feet;
 

  608. S 57°08/31,/ W 125.34 feet;
 

  609. S
  
   63°53'31"
  
  W 369.43 feet;
 

  610. S 38°08'31" W 76525 feet;
 

  611. S 15°36'29" E 237.49 feet;
 

  612. S 21°21/29,/ E 435.40 feet;
 

  613. S íroe^g" E 316.66 feet;
 

  614. S 22°35/29// E 625 feet, more or less, to the true point for the meander corner between Sections 6 and 7, TUS, R22E, SBM, as shown on said plat; thence
 

  615. N 65°19'54" E 15 feet, more or less, to a point having California Coordinate System, Zone 6 coordinates of x=2,477,639.57 feet and
   
   *443
   
  y=394,914.38 feet; thence the following 75 courses:
 

  616. S 24°40'06" E 15.23 feet;
 

  617. S 30°48'33" E 201.41 feet;
 

  618. S 32°35'32" E 240.99 feet;
 

  619. S 41°33'23" E 64.16 feet;
 

  620. S 06°27'39" E 41.95 feet;
 

  621. S 44°47/21// E 42.30 feet;
 

  622. S 31°10'03" E 290.43 feet;
 

  623. S 30°20'17" E 193.21 feet;
 

  624. S 35°31'37" E 230.58 feet;
 

  625. S 33°32'33" E 109.82 feet;
 

  626. S 31°07'03" E 291.64 feet;
 

  627. S 35°58'44" E 110.62 feet;
 

  628. S 29°31'41" E 141.28 feet;
 

  629. S 36°50'40" E 193.40 feet;
 

  630. S 49°35'07" E 90.66 feet;
 

  631. S 30°07'37" E 233.52 feet;
 

  632. S 31°53'02" E 251.15 feet;
 

  633. S 36°13'48" E 203.04 feet;
 

  634. S 46°06/54// E 83.21 feet;
 

  635. S 71°32'41" E 26.63 feet;
 

  636. S 37°18'41" E 91.38 feet;
 

  637. S 34°03'47" E 113.30 feet;
 

  638. S 26°18'12" E 105.77 feet;
 

  639. S 41°04/58" E 109.72 feet;
 

  640. S 31°06'48" E 112.40 feet;
 

  641. S 44°54'33" E 116.06 feet;
 

  642. S 26°40'57" W 28.35 feet;
 

  643. S 33°31'01" E 219.44 feet;
 

  644. S 44°43'41" E 147.52 feet;
 

  645. S 35°46'12" E 92.93 feet;
 

  646. S 40°14,44// E 131.38 feet;
 

  647. S 07°04'43" W 41.30 feet;
 

  648. S 69°06'50" E 25.81 feet;
 

  649. S 38°04'24" E 119.03 feet;
 

  650. S 42°30'44" E 98.39 feet;
 

  651. S 31°35'31" E 120.76 feet;
 

  652. S 34°30'30" E 195.40 feet;
 

  653. S 28°01'14" E 117.07 feet;
 

  654. S 32°38'46" E 156.49 feet;
 

  655. S 11°54,21,/ E 34.12 feet;
 

  656. S 39°20'10" E 130.18 feet;
 

  657. S 34°12'23" E 153.60 feet;
 

  658. S 21°29'38" E 46.34 feet;
 

  659. S 47°44/29" E 81.61 feet;
 

  660. S 30°52,09// E 78.84 feet;
 

  661. S 57°36,19// E 106.99 feet;
 

  662. S 37°14/12" E 256.55 feet;
 

  663. S 39°58'33" E 258.69 feet;
 

  664. S 45°46'13" E 91.01 feet;
 

  665. S 31°33'36" E 94.10 feet;
 

  666. S 57°50'57" W-26.33 feet;
 

  667. S 07°09'59" E 20.60 feet;
 

  668. S 78°52'10" E 63.92 feet;
 

  669. S 07°28/16" E 22.99 feet;
 

  670. S 32°48/30" E 160.95 feet;
 

  671. S 24°10/21" E 195.83 feet;
 

  672. S 30°32'33" E 247.57 feet;
 

  673. S 31°56'13" E 71.89 feet;
 

  674. S 03°23,22" E 32.31 feet;
 

  675. S 32°31,22" E 188.29 feet;
 

  676. S 28°02'01" E 196.47 feet;
 

  677. S 18°34'38" E 110.90 feet;
 

  678. S iriO'23" E 66.47 feet;
 

  679. S 33°58W' E 59.38 feet;
 

  680. S 02°15/15" W 31.52 feet;
 

  681. S 27°25/03" E 115.12 feet;
 

  682. S 19°18'42" E 76.05 feet;
 

  683. S 01°27/20" E 26.77 feet;
 

  684. S 17°11'36" E 236.98 feet;
 

  685. S 10°46/23" E 62.38 feet;
 

  686. S 18°31'39" E 99.70 feet;
 

  687. S 21°27/16" E 182.39 feet;
 

  688. S 48°21/04" E 40.40 feet;
 

  689. S 07°51/38" W 195.38 feet;
 

  690. S 09°17'17" W 123.85 feet, to a point having California Coordinate System, Zone 6 coordinates of x=2,482,240.84 feet and y=387,-264.05 feet as said point is shown on the Davis Lake Area Project Administrative Maps, hereinbefore described; thence,
 

 
   *444
   
  691. S 77°38T0" E 213.25 feet, to a point on the centerline of the former channel of the Colorado
 

  River, said point also being the point of beginning of the herein described parcel of land.
 

  Bearings and distances in the above description are based on the California Coordinate System, Zone 6.
 

  EXHIBIT B
 

  A parcel of land in the former channel of the Colorado River in Imperial County, California, and Yuma County, Arizona, adjacent to Township 1 South, Range 24 West, Gila and Salt River Meridian; Township 2 South, Range 24 West, Gila and Salt River Meridian; Township 2 South, Range 23 West, Gila and Salt River Meridian, more particularly described as follows:
 

  BEGINNING at a point on the center line of the former channel of the Colorado River having California Coordinate System, Zone 6, coordinates of x=2,482,449.14 feet and y=387,218.39 feet, from which United States Water and Power Resources Service (formerly United States Bureau of Reclamation) Station RUIN bears N 56°27,07// E 733.37 feet, as said points are shown on the map entitled, “Davis Lake Area Project Administrative Maps”, said map approved October 28, 1976 by the California State Lands Commission, and being on file at the offices of said Commission in Sacramento, California; thence from said point of beginning, upstream along the center line of the former channel of the Colorado River, said center line being a fixed and limiting boundary of the herein described parcel, the following 377 courses:
 

  1. N 06°11'02" E 91.76 feet;
 

  2. N 54°12'32" E 18.78 feet;
 

  3. N 12°45'10" E 174.75 feet;
 

  4. N 12°53/00// W 103.53 feet;
 

  5. N 05°09T7" W 146.10 feet;
 

  6. N 13°58T0" E 87.64 feet;
 

  7. N 05°10T3" W 66.53 feet;
 

  8. N 23°31/10" E 26.95 feet;
 

  9.N 36°32'17" E 111.82 feet;
 

  10. N 19°17'18"
  
   W
  
  275.69 feet;
 

  11. N 04°49'28" W 45.39 feet;
 

  12. N 25°30'26" W 64.01 feet;
 

  13. N 2P45T9" W 170.09 feet;
 

  14. N 02°16'16'/ E 15.76 feet;
 

  15. N 26°25'14" W 142.77 feet;
 

  16. N 19°59'28" W 151.68 feet;
 

 
   *445
   
  17. N 32°00'03" W 345.18 feet;
 

  18. N 03024'14" W 16.15 feet;
 

  19. N 34°25'41" W 352.66 feet;
 

  20. N 30°34/31// W 260.03 feet;
 

  21. N 36°46'58" W 310.64 feet;
 

  22. N 41°48'53" W 306.12 feet;
 

  23. N 40°25'19" W 290.08 feet;
 

  24. N 44°30'49" W 169.94 feet;
 

  25. N 30°52'29" W 39.42 feet;
 

  26. N 47°44,12'/ W 40.80 feet;
 

  27. N 21°30,40,/ W 23.17 feet;
 

  28. N 34°34/58" W 209.82 feet;
 

  29. N 34°44'50" W 317.95 feet;
 

  30. N 34°44'47" W 291.32 feet;
 

  31. N 37°31'17" W 279.41 feet;
 

  32. N 36°05'21" W 275.56 feet;
 

  33. N 37°39'47" W 240.96 feet;
 

  34. N 32°03'44" W 164.74 feet;
 

  35. N 26°41/11" E 14.17 feet;
 

  36. N 37°08'14" W 33.36 feet;
 

  37. N 35°36'16"
  
   W
  
  86.74 feet;
 

  38. N 39°41'49" W 66.46 feet;
 

  39. N 37°12'59" W 163.13 feet;
 

  40. N 28°19'51" W 220.22 feet;
 

  41. N 34°33,42/' W 149.82 feet;
 

  42. N 39°16/54// W 17.91 feet;
 

  43. N 46°59/54// W 65.69 feet;
 

  44. N 36°45'41" W 175.14 feet;
 

  45. N 30o48'13" W 247.89 feet;
 

  46. N
  
   35°33'1&amp;"
  
  W 233.54 feet;
 

  47. N 42°45,30" W 301.59 feet;
 

  48. N 29°31/50// W 70.64 feet;
 

  49. N 39°15'12" W 181.84 feet;
 

  50. N 34°08'26// W 287.28 feet;
 

  51. N 36°56'15" W 341.54 feet;
 

  52. N 33°51'40" W 248.93 feet;
 

  53. N
  
   30°53'53"
  
  W 227.36 feet;
 

  54. N 28°52/32"
  
   W
  
  133.47 feet;
 

  55. N
  
   41°33'W"
  
  W 32.08 feet;
 

  56. N 32°30'33// W 214.79 feet;
 

  57. N 32047'41" W 159.63 feet;
 

  58. N 41°44/15" W 149.07 feet;
 

  59. N SFSS'IO" W 15.67 feet;
 

  60. N 29°44/55" W 238.30 feet;
 

  61. Ñ 25°49'43" W 111.43 feet;
 

  62. N 09°13'34" W 69.07 feet;
 

  63. N 21°53/52// W 147.48 feet;
 

  64. N 65°05'19" W 9.15 feet;
 

  65. N 32°30/38// W 38.27 feet;
 

  66. N 21°01/27" W 83.19 feet;
 

  67. N 10o39'51" E 44.53 feet;
 

  68. N 02°15'38" W 45.67 feet;
 

  69. N 44°22'08// W 27.00 feet;
 

  70. N 20°34'25// W 93.00 feet;
 

  71. N 18°23'16"
  
   W
  
  48.78 feet;
 

  72. N 16°26,02" W 95.55 feet;
 

  73. N 04°26/34" W 49.11 feet;
 

  74. N 08°54'12" W 109.59 feet;
 

  75. N 45°00'45" W 15.45 feet;
 

  76. N 15°52/18" W 46.11 feet;
 

  77. N 23°50'06" E 50.55 feet;
 

  78. N 06°27'18" W 28.68 feet;
 

  79. N 29°30'20" W 14.62 feet;
 

  80. N 15°29'04" E 39.92 feet;
 

  81. N 28°23'27" E 42.72 feet;
 

  82. N 23°04'47" E 132.80 feet;
 

  83. N 47°17'33" E 256.64 feet;
 

  84. N 48°40'23" E 89.15 feet;
 

  85. N 52°50'14" E 286.63 feet;
 

  86. N 59°57'29" E 156.23 feet;
 

  87. N 62°51/03" E 103.67 feet;
 

  88. N 60°52'13" E 166.51 feet;
 

  89. N 57°00'27" E 53.17 feet;
 

  90. N 57°43'27" E 326.93 feet;
 

  91. N 68°38'25" E 38.74 feet;
 

  92. N 45°44/50" E 25.05 feet;
 

  93. N 60°53'25" E 148.11 feet;
 

  94. N 52°28'50" E 136.72 feet;
 

  95. N 53°48'33" E 194.46 feet;
 

  96. N 53°11'16" E 49.55 feet;
 

  97. N 80°15'07" E 22.12 feet;
 

  98. N SOnS^" E 181.66 feet;
 

  99. N 69°57'50" E 40.08 feet;
 

  100. N 34°56'12" E 24.41 feet;
 

  101. N 50°47'14" E 202.15 feet;
 

  102. N 61°59'40" E 50.34 feet;
 

 
   *446
   
  103. N 47°49/50" E 49.76 feet;
 

  104. N 48°09'42" E 163.97 feet;
 

  105. N 50°09'37" E 112.15 feet;
 

  106. N 27°22'23" E 134.94 feet;
 

  107. N 47°51'44" E 124.47 feet;
 

  108. N 46°01'44" E 142.53 feet;
 

  109. N 39°04'50" E 180.94 feet;
 

  110. N 45°09'21" E 189.68 feet;
 

  111. N 39°57'52" E 156.08 feet;
 

  112. N 43°26'27" E 199.19 feet;
 

  113. N 52°12'27" E 221.41 feet;
 

  114. N 50°29'55" E 152.42 feet;
 

  115. N 52°54'27" E 179.48 feet;
 

  116. N 62°15'35" E 213.37 feet;
 

  117. N 68°45'32" E 55.26 feet;
 

  118. N 67°29,40" E 76.60 feet;
 

  119. N 65°41'07" E 165.43 feet;
 

  120. N 67°14'09" E 294.39 feet;
 

  121. N 64°24'36" E 128.78 feet;
 

  122. N 53°03'32" E 106.15 feet;
 

  123. N 70°17'39" E 35.29 feet;
 

  124. N 73°29'13" E 147.47 feet;
 

  125. N 59°19'13" E 74.01 feet;
 

  126. N 30°28'52" E 18.53 feet;
 

  127. N
  
   60°22'22" E
  
  71.20 feet;
 

  128. N 18°45'56" E 28.50 feet;
 

  129. N 39°20'12" E 181.32 feet;
 

  130. N 15°18'44" E 22.87 feet;
 

  131. N 34°48'05" E 113.34 feet;
 

  132. N 01°37'33" E 25.20 feet;
 

  133. N 20°03'20" E 279.59 feet;
 

  134. N 08°48'55" E 494.65 feet;
 

  135. N 06007/16/'
  
   W
  
  329.64 feet;
 

  136. N OPOS'Ol" W 46.25 feet;
 

  137. N 12°04'58" W 216.22 feet;
 

  138. N 02°16'55" E 41.56 feet;
 

  139. N 12°25'25" W 199.17 feet;
 

  140. N 27°14'52" W 38.46 feet;
 

  141. N 20°48'06" W 242.26 feet;
 

  142. N 19°51/45" W 337.38 feet;
 

  143. N 24°07'19// W 226.77 feet;
 

  144. N 27°31'47" W 169.08 feet;
 

  145. N 25°20/37"
  
   W
  
  190.07 feet;
 

  146. N 27°40'18// W 329.72 feet;
 

  147. N 28°56/10" W 330.72 feet;
 

  148. N 24°33/34" W 60.51 feet;
 

  149. N 29°27'35" W 208.29 feet;
 

  150. N 28°05/26// W 247.46 feet;
 

  151. N 23°44"10// W 163.83 feet;
 

  152. N 13°09'48" W 254.49 feet;
 

  153. N 19°22'18" W 307.39 feet;
 

  154. N 21°47/25// W 159.63 feet;
 

  155. N 30°33/33// W 99.94 feet;
 

  156. N 29° 12'13" W 207.55 feet;
 

  157. N
  
   31°55'33" W
  
  235.86 feet;
 

  158. N 28°51'47" W 106.13 feet;
 

  159. N 36°40'00"
  
   W
  
  174.32 feet;
 

  160. N 02°47'21" E 19.11 feet;
 

  161. N 43°43'57" W 240.40 feet;
 

  162. N 41°01'16" W 304.70 feet;
 

  163. N 46°54'46" W 122.65 feet;
 

  164. N 40°49'49" W 90.29 feet;
 

  165.
  
   N
  
  51°59'40" W 174.20 feet;
 

  166. N 44°21/26"
  
   W
  
  78.79 feet;
 

  167. N 54°41'29" W 220.08 feet;
 

  168. N 53°16'11" W 329.75 feet;
 

  169. N 61°51'41" W 110.58 feet;
 

  170. N 52°54'43"
  
   W
  
  215.67 feet;
 

  171. N 58°08/36" W 153.28 feet;
 

  172. N 59°29'55" W 174.49 feet;
 

  173. N 56°21'47" W 191.68 feet;
 

  174. S 89°23/45" W 20.87 feet;
 

  175. N 62°40/51"
  
   W
  
  144.58 feet;
 

  176. N 60°27r35" W 329.61 feet;
 

  177. N 58°43'43" W 350.72 feet;
 

  178. N 49°48'54" W 206.44 feet;
 

  179. N 71°14/37" W 266.43 feet;
 

  180. N 67°56'20" W 72.52 feet;
 

  181. N 64«05,13" W 230.11 feet;
 

  182. N 68°36'52"
  
   W
  
  337.96 feet;
 

  183. N 68°46'07" W 60.86 feet;
 

  184. N 57°31'28" W 62.02 feet;
 

  185. N 69°12'17" W 194.71 feet;
 

  186. N 74°52,18" W 51.54 feet;
 

  187. N 60°10'12"
  
   W
  
  91.32 feet;
 

  188. N 72°23/57" W 284.72 feet;
 

 
   *447
   
  189. N 66°43'26" W 289.75 feet;
 

  190. N 71°49'29" W 317.90 feet;
 

  191. N 69°12'03" W 238.91 feet;
 

  192. N 64°15'14" W 72.27 feet;
 

  193. S 65027'32" W 40.27 feet;
 

  194. N 74°15'53" W 194.46 feet;
 

  195. N 73°49/49,/ W 290.50 feet;
 

  196. N 72°33'14" W 374.10 feet;
 

  197. N 67°46'21" W 342.36 feet;
 

  198. N 57°56'05" W 76.94 feet;
 

  199. N 87°47'11" W 87.90 feet;
 

  200. N 72°42'55" W 288.96 feet;
 

  201. N 71°19'03" W 300.30 feet;
 

  202. N 80°29'32" W 203.62 feet;
 

  203. S 89°12'33" W 61.22 feet;
 

  204. N 70°29/19// W 104.61 feet;
 

  205. N 79°25'58" W 67.02 feet;
 

  206. N 80°35'31" W 373.72 feet;
 

  207. N 80°52'09" W 380.68 feet;
 

  208. N 77°30'29" W 200.60 feet;
 

  209. S 80°07'35" W 41.78 feet;
 

  210. N 68°08'20" W 43.73 feet;
 

  211. N 82°47'20" W 337.50 feet;
 

  212. N 78°02'35" W 194.88 feet;
 

  213. N 77°39'54" W 170.67 feet;
 

  214. N 77°07'59" W 330.55 feet;
 

  215. N 79°02/44// W 201.15 feet;
 

  216. N 70°18'48" W 173.92 feet;
 

  217. N 78°14'27" W 273.38 feet;
 

  218. n senoae" W 121.38 feet;
 

  219. N 56°59'20" W 23.64 feet;
 

  220. N 77°12'59,/ W 426.70 feet;
 

  221. N 83°15'03" W 185.75 feet;
 

  222. N 73°51/47// W 182.15 feet;
 

  223. N 71°13'45" W 16721 feet;
 

  224. S 75°37'59,/ W 30.89 feet;
 

  225. N 71°33'44// W 234.05 feet;
 

  226. N 80°43'52" W 137.24 feet;
 

  227. N 69°41,51" W 27322 feet;
 

  228. N 70°43'07" W 254.91 feet;
 

  229. N 66°56'08" W 301.42 feet;
 

  230. N
  
   63°53'15"
  
  W 256.28 feet;
 

  231. N
  
   58°33'26"
  
  W 202.83 feet;
 

  232. N 61°51'11" W 184.76 feet;
 

  233. N 52°03'07" W 236.22 feet;
 

  234. N
  
   59°50'ál"
  
  W 424.43 feet;
 

  235. N 57°02,33" W 230.68 feet;
 

  236. N 48°19,51// W 103.33 feet;
 

  237. N 40°22'48// W 238.16 feet;
 

  238. N 27°29/10" W 445.07 feet;
 

  239. N 27°28'12" W 417.56 feet;
 

  240. N 23°53/28" W 462.72 feet;
 

  241. N 20°07'44" W 182.40 feet;
 

  242. N 02°09'48" W 110.47 feet;
 

  243. N 45°05'17" W 66.80 feet;
 

  244. N 24°47'08" W 167.79 feet;
 

  245. N 04°37'48" E 25.09 feet;
 

  246. N 25°09'10" W 194.51 feet;
 

  247. N 47°03'42" W 36.76 feet;
 

  248. N 23°12/08" W 208.06 feet;
 

  249. N 31°51'35" W 213.36 feet;
 

  250. N 25°18'01" W 275.95 feet;
 

  251. N 22°57/02" W 335.59 feet;
 

  252. N 35°58'44" W 89.13 feet;
 

  253. N 24°17/16"
  
   W
  
  160.88 feet;
 

  254. N 75°21/26" W 17.52 feet;
 

  255. N 27°01'17" W 188.36 feet;
 

  256. N 13°08'58" W 227.87 feet;
 

  257. N 40°21'42"
  
   W
  
  136.76 feet;
 

  258. N 24°24,56" W 197.69 feet;
 

  259. N 23°37'41" W 184.07 feet;
 

  260. N 26°21/53" W 373.91 feet;
 

  261. N 30°13'30" W 285.83 feet;
 

  262. N 23°37/13" W 44.79 feet;
 

  263. N 32°55/17" W 111.43 feet;
 

  264. N 70°24/21" W 45.64 feet;
 

  265. N 38°36'29" W 28.58 feet;
 

  266. N 27°45'40" W 98.67 feet;
 

  267. N 46°12,44" W 44.96 feet;
 

  268. N 24°49/30" W 178.43-feet;
 

  269. N 05°35'47" E 26.71 feet;
 

  270. N 22°59'42" W 38.82 feet;
 

  271. N 10°02'49" E 30.61 feet;
 

  272. N 19°34'05" W 114.65 feet;
 

  273. N 05°33'59" E 13.45 feet;
 

  274. N 12°59'57" W 110.34 feet;
 

 
   *448
   
  275. N 01°10'59" E 216.95 feet;
 

  276. N 07°13'33" E 110.78 feet;
 

  277. N 06°00'55" E 131.88 feet;
 

  278. N 12o01'16" E 173.06 feet;
 

  279. N 04°06/19// W 44.77 feet;
 

  280. N 34°06'19" E 126.69 feet;
 

  281. N 40°46'38" E 329.61 feet;
 

  282. N 27°01'26// E 173.94 feet;
 

  283. N 46°34'13" E 311.34 feet;
 

  284. N 46°36'53" E 361.75 feet;
 

  285. N 57°24'33" E 118.71 feet;
 

  286. N 52°19'49" E 242.35 feet;
 

  287. N 47°03'21" E 177.59 feet;
 

  288. N 52°11,08'/ E 276.80 feet;
 

  289. N 52°23/33// E 387.60 feet;
 

  290. N 39°39'32" E 300.47 feet;
 

  291. N 24°24'38" E 351.30 feet;
 

  292. N 18°55'03" E 170.32 feet;
 

  293. N 16°04'01" E 220.64 feet;
 

  294. N 27°29'02" E 177.93 feet;
 

  295. N
  
   33°39'19"
  
  E 182.00 feet;
 

  296. N 44°33'29" E 266.80 feet;
 

  297. N 37°44'11" E 162.18 feet;
 

  298. N 39°45'24" E 191.62 feet;
 

  299. N 44°ll/35// E 141.82 feet;
 

  300. N 49°35/13" E 289.05 feet;
 

  301. N 67°47/17" E 434.12 feet;
 

  302. N 50°05,56" E 187.21 feet;
 

  303. N 53°46'23" E 313.82 feet;
 

  304. N 57°52,30,/ E 229.52 feet;
 

  305. N 34°44/43,/ E 240.98 feet;
 

  306. N 13°51'35" E 139.72 feet;
 

  307. N SO^O^l" E 218.39 feet;
 

  308. N 09°00'09" E 310.43 feet;
 

  309. N 03°29'17/' E 364.22 feet;
 

  310. N 21°07/35// E 112.02 feet;
 

  311. N 25042/13,/ E 133.57 feet;
 

  312. N 45°58'18,/ E 53.38 feet;
 

  313. N
  
   60°19'59"
  
  E 51.98 feet;
 

  314. N 37°15/32// E 182.58 feet;
 

  315. N 15°23'58" E 83.49 feet;
 

  316. N 15°42'01" E 261.08 feet;
 

  317. N 36°24/20// W 51.58 feet;
 

  318. N
  
   15°15'01"
  
  E 196.32 feet;
 

  319. N 13°42/25// W 206.28 feet;
 

  320. N 32°40'58,/ E 42.13 feet;
 

  321. N 32°31/26" E 214.62 feet;
 

  322. N 44°06,21/' E 17.67 feet;
 

  323. N 30°59'00" E 115.35 feet;
 

  324. N 25°35'07" E 44.46 feet;
 

  325. N 18°27'29" E 109.88 feet;
 

  326. N 22°50'29" E 131.46 feet;
 

  327. N
  
   05°32'17"
  
  E 162.37 feet;
 

  328. N 01°04'56" W 188.48 feet;
 

  329. N 08°30'21" W 126.56 feet;
 

  330. N 16°47'18// E 224.07 feet;
 

  331. N 30°43'44" E 88.32 feet;
 

  332. N 41°35'58// E 181.80 feet;
 

  333. N 41°26'54// E 4.11 feet;
 

  334. N 62°19'06" E 53.47 feet;
 

  335. N 42°17'15// E 75.16 feet;
 

  336. N 42°33'08" E 98.01 feet;
 

  337. N 14°53'12" E 16.50 feet;
 

  338. N 05°14'15" W 25.31 feet;
 

  339. N 39°32'31// E 98.80 feet;
 

  340. N 04°53/40// W 145.92 feet;
 

  341. N 09o04'54" E 362.65 feet;
 

  342. N M^O'Ol" E 304.17 feet;
 

  343. N 01°28'58" E 71.48 feet;
 

  344. N 02°08/33// E 176.53 feet;
 

  345. N 01°57'51" W 319.75 feet;
 

  346. N 01°20'24" W 243.11 feet;
 

  347. N 09°08'02" E 139.88 feet;
 

  348. N 13°07'32" W 209.36 feet;
 

  349. N oe^e'lS" W 175.51 feet;
 

  350. N 05°37'45" W 293.41 feet;
 

  351. N 06°34/59/' W 217.59 feet;
 

  352. N 07°47/48// W 290.66 feet;
 

  353. N 10°41'30" W 267.70 feet;
 

  354. N 04°47/01" W 72.08 feet;
 

  355. N 14°28,47'/ W 234.20 feet;
 

  356. N 00°19'43"
  
   W
  
  116.62 feet;
 

  357. N 07°44/46// W 279.97 feet;
 

  358. N 11°32/18" W 356.71 feet;
 

  359. N 11°07'49" W 213.28 feet;
 

  360. N 14°30'09// W 272.42 feet;
 

 
   *449
   
  361. N 06°36'37"
  
   W
  
  286.80 feet;
 

  362. N 08°28'38" W 238.45 feet;
 

  363. N 17°03'40" W 151.67 feet;
 

  364. N 09°18'29" W 342.55 feet;
 

  365. N 14°40'23" W 256.29 feet;
 

  366. N 14°18'03" W 363.43 feet;
 

  367. N 11°45'38" E 206.67 feet;
 

  368. N 41°54'52" E 321.85 feet;
 

  369. N 63°25/44" E 273.18 feet;
 

  370. S 74°04'12" E 474.64 feet;
 

  371. N 88°03'52" E 416.71 feet;
 

  372. S 66°20'00" E 572.97 feet;
 

  373. S 80°24/37" E 222.10 feet;
 

  374. S 89°46'40" E 349.53 feet;
 

  375. N 82°26'19" E 391.23 feet;
 

  376. N 66°00'59" E 497.08 feet;
 

  377. N 58°38'57" E 276.46 feet to a standard California State Lands Commission brass tablet set in concrete stamped “N-MID-CAL 1981” having California Coordinate System, Zone 6 coordinates x=2,472,-838.61 feet and y=432,666.01 feet, said tablet being located on the westerly boundary of the parcels of land taken by condemnation in
  
   United States
  
  v.
  
   24325 Acres of Land,
  
  Civil No. 3505-SD-Smith (S. D. Cal. 1973) and
  
   United States
  
  v.
  
   67.57 Acres of Land,
  
  Civil No. 5925-Phx-Craig (D. Ariz. 1972); thence leaving said centerline of the former channel,
 

  378. Southwesterly 279.92 feet along said westerly boundary, being a fixed and limiting boundary of the herein described parcel, on the are of a curve, concave westerly, having a radius of 15,350 feet, to a point on said curve subtended by a chord which bears S 07°53,20" W 279.92 feet, said point being monu-mented with a standard California State Lands Commission brass tablet set in concrete, stamped “N-LB ARIZ 1981”, having California Coordinate System, Zone 6 coordinates of x=2,472,800.19 feet and y=432,-388.74 feet, from which California State Lands Commission Monument “PI-14” bears N 18°47'54" E 1151.-11 feet, as said monument is shown on said map, also from which said brass tablet, the section comer common to Sections 11, 12, 13 and 14, T1S, R24W, G&amp;SRM, as shown on the United States Bureau of Land Management plat, accepted August, 1961, bears N 71°55'49" E 1611.90 feet; thence downstream along a fixed and limiting boundary of the herein described parcel, the following 451 courses:
 

  379. S 58°45'19" W 85.58 feet;
 

  380. S 67°38/56" W 249.89 feet;'
 

  381. S 63°43'57" W 155.84 feet;
 

  382. S 72°16'06" W 184.20 feet;
 

  383. S 78°34'43" W 146.14 feet;
 

  384. S 83°53'41" W 329.27 feet;
 

  385. S 88°37'43" W 388.16 feet;
 

  386. N 86°25'25" W 240.47 feet;
 

  387. N 76°32'50" W 213.20 feet;
 

  388. N 68°55/05" W 287.46 feet;
 

  389. N 78°03/34" W 361.78 feet;
 

  390. N 69°59'22" W 469.15 feet;
 

  391. S 72°10/47" W 102.57 feet;
 

  392. S 47°23'09" W 101.91 feet;
 

  393. S 25°37'19" W 108.69 feet;
 

  394. S 13°06'59" W 105.76 feet;
 

  395. S 03°21'59" W 102.18 feet;
 

  396. S 03°38'10" E 299.60 feet;
 

  397. S 04°11'06" E 205.55 feet;
 

  398. S 12°23'07" E 303.05 feet;
 

  399. S 17°03'40" E 303.35 feet;
 

  400. S 12°44/31" E 204.03 feet;
 

  401. S 04°29/08" E 249.21 feet;
 

 
   *450
   
  402. S 16°06'43" E 236.71 feet;
 

  403. S 12°58'58" E 210.41 feet;
 

  404. S 12°25'06" E 194.47 feet;
 

  405. S 10°36'11" E 198.69 feet;
 

  406. S 02°21'08" E 229.51 feet;
 

  407. S 00°19'45" E 233.24 feet;
 

  408. S 24°35'43" E 164.99 feet;
 

  409. S 04°46'58" E 144.16 feet;
 

  410. S 15°05'56" E 182.16 feet;
 

  411. S 08°41'35" E 284.96 feet;
 

  412. S 09°40'02" E 222.06 feet;
 

  413. S 08°33'33" E 174.90 feet;
 

  414. S 06°47'07" E 173.17 feet;
 

  415. S 21°34,13// E 97.08 feet;
 

  416. S 09°32'18" E 99.27 feet;
 

  417. S 24°41'06" E 123.51 feet;
 

  418. S 25°41'09" E 101.42 feet;
 

  419. S 02°05'30" W 53.98 feet;
 

  420. S 15°33'52" W 92.95 feet;
 

  421. S 09009'15" E 82.85 feet;
 

  422. S 08°35'15" E 141.17 feet;
 

  423. S 13°23'46" E 119.17 feet;
 

  424. S 10°02'38" E 108.20 feet;
 

  425. S 04°57'17" E 119.26 feet;
 

  426. S 04°37'53" W 165.58 feet;
 

  427. S 01°28'59" W 142.97 feet;
 

  428. S 05°49'59" E 252.68 feet;
 

  429. S 02°44/42" W 292.34 feet;
 

  430. S 08°15'47" W 182.68 feet;
 

  431. S 27°44'21" E 221.17 feet;
 

  432. S 08°46'04" E 26.18 feet;
 

  433. S 05°13'42" E 50.59 feet;
 

  434. S 14°50/39" W 33.02 feet;
 

  435. S 40°43'36" W 53.52 feet;
 

  436. S 52°19'09" W 120.67 feet;
 

  437. S 62°19'06" W 106.94 feet;
 

  438. S 41°26'32" W 8.20 feet;
 

  439. S 17°30'03" W 132.09 feet;
 

  440. S 02°00'03" E 55.56 feet;
 

  441. S 19°15'22" E 191.76 feet;
 

  442. S 11°53'15" E 173.16 feet;
 

  443. S 02°12/11" E 241.66 feet;
 

  444. S 05°28'02" W 217.06 feet;
 

  445. S 23°06'41" W 180.17 feet;
 

  446. S 37°57'30" W 148.76 feet;
 

  447. S 48°45'25" W 164.55 feet;
 

  448. S 59°11'34" W 325.33 feet;
 

  449. S 42°48'13" W 21.79 feet;
 

  450. S 25°17'54" W 317.81 feet;
 

  451. S 16°55'02" W 342.44 feet;
 

  452. S 32°06'35" W 23.87 feet;
 

  453. S 49°38'48" W 276.68 feet;
 

  454. S 60°19'46" W 103.98 feet;
 

  455. S 79°56'36" W 63.64 feet;
 

  456. S 44°01'44" W 74.60 feet;
 

  457. S 20°55'28" W 10950 feet;
 

  458. S 03°28/57" E 140.43 feet;
 

  459. S 06°05'54" E 345.74 feet;
 

  460. S 06°05'48" E 345.75 feet;
 

  461. S 32°34'17" W 168.48 feet;
 

  462. S 17°35'41" W 266.14 feet;
 

  463. S 30°06r42" W 61.23 feet;
 

  464. S 41°41/34" W 226.03 feet;
 

  465. S 44°35/14"
  
   W
  
  145.30 feet;
 

  466. S 40°34'00" W 111.05 feet;
 

  467. S 40°02/55" W 123.14 feet;
 

  468. S 46°00'59" W 122.79 feet;
 

  469. S 44°26/16" W 108.84 feet;
 

  470. S 52°56'12"
  
   W
  
  268.39 feet;
 

  471. S 56°42/26" W 131.24 feet;
 

  472. S 55°42'54" W 168.79 feet;
 

  473. S 56°00/39" W 106.77 feet;
 

  474. S 57°12/12" W 100.69 feet;
 

  475. S 53°12'11" W 102.19 feet;
 

  476. S 63°09'46" W 73.41 feet;
 

  477. N 86°34'07" W 93.90 feet;
 

  478. N 76°12,12" W 96.24 feet;
 

  479. S 89°11'29" W 113.37 feet;
 

  480. S 88°17'58" W 70.09 feet;
 

  481. S 69°16'43" W 95.27 feet;
 

  482. S 57°49/20" W 110.66 feet;
 

  483. S 53°52'23" W 105.21 feet;
 

  484. S 59°36'59" W 85.89 feet;
 

  485. S 39°47'16" W 66.47 feet;
 

  486. S 2833'56" W 87.75 feet;
 

  487. S 19°05'09" W 100.22 feet;
 

 
   *451
   
  488. S 15°01/54// W 240.95 feet;
 

  489. S 10°51'19" W 104.77 feet;
 

  490. S 11°10'21" W 138.06 feet;
 

  491. S 14°35'32" W 117.73 feet;
 

  492. S 17°19'33"
  
   W
  
  118.13 feet;
 

  493. S 27°00'27" W 66.02 feet;
 

  494. S 28°24'12" E 20.08 feet;
 

  495. N 42°15'47// E 72.71 feet;
 

  496. N 27°42'21" E 89.63 feet;
 

  497. N 36°57'39" E 64.31 feet;
 

  498. S 73°25'21" E 9.46 feet;
 

  499. S 23°44'15" W 68.54 feet;
 

  500. S
  
   14°55'55"
  
  W 62.83 feet;
 

  501. S 84°04'41// E 50.69 feet;
 

  502. N 39°32'11" E 43.59 feet;
 

  503. N 38°42/57// E 75.00 feet;
 

  504. N 43°37'10" E 75.44 feet;
 

  505. S 80°27'48" E 36.76 feet;
 

  506. S 16W24" W 54.18 feet;
 

  507. S 39°09'54" W 55.09 feet;
 

  508. S 55°13'47" W 240.09 feet;
 

  509. S 61°00'14" W 119.77 feet;
 

  510. S 47°05'24,/ W 184.98 feet;
 

  511. S
  
   50°31'57"
  
  W 139.06 feet;
 

  512. S 56°24/25// W 134.18 feet;
 

  513. S 47°51'53// W 64.94 feet;
 

  514. S 53°44'41" W 187.16 feet;
 

  515. S 42°41'39" W 144.82 feet;
 

  516. S 57°48/44// W 184.91 feet;
 

  517. S
  
   35°01'21"
  
  W 83.01 feet;
 

  518. S
  
   51°53'22" W
  
  113.06 feet;
 

  519. S 53°59'07" W 172.04 feet;
 

  520. S 81°05'34" W 63.29 feet;
 

  521. S 43°10/48// W 160.09 feet;
 

  522. S 42°26/51// W 179.10 feet;
 

  523. S 46°56,20// W 183.28 feet;
 

  524. S 56°40'44" W 161.91 feet;
 

  525. S 51°16'52// W 186.33 feet;
 

  526. S 41°35'43// W 305.77 feet;
 

  527. S
  
   36°14'42"
  
  W 134.77 feet;
 

  528. S 10°29'41// W 125.84 feet;
 

  529. S 11°13'27" W 129.77 feet;
 

  530. S OS^^" W 118.29 feet;
 

  531. S 04°47'52" W 141.08 feet;
 

  532. S 08°24,44" E 142.73 feet;
 

  533. S 16°31/56" E 153.72 feet;
 

  534. S 25°11/16" E 177.87 feet;
 

  535. S 33°56,20// E 163.53 feet;
 

  536. S 32°55'17" E 222.86 feet;
 

  537. S 34o47'40" E 223.93 feet;
 

  538. S 32°55'29,/ E 259.90 feet;
 

  539. S
  
   35°14'17"
  
  E 189.13 feet;
 

  540. S 28°00'33// E 180.47 feet;
 

  541. S 26°27/16" E 208.25 feet;
 

  542. S 86°56'59,/ E 4022 feet;
 

  543. S 49°24,43// E 46.88 feet;
 

  544. S 04°48'27// E 246.76 feet;
 

  545. S 16025'25" E 122.09 feet;
 

  546. S 55°46'43" E 36.79 feet;
 

  547. S 27°26'13" E 295.40 feet;
 

  548. S 28o59'05" E 221.60 feet;
 

  549. S 23°41/06// E 182.64 feet;
 

  550. S 26°36W' E 209.83 feet;
 

  551. S SS'WSS" E 204.79 feet;
 

  552. S 21°14/14" E 244.82 feet;
 

  553. S 27°07/44// E 209.48 feet;
 

  554. S 23°ll/36" E 223.85 feet;
 

  555. S 05°26'18" E 172.31 feet;
 

  556. S 15°23^38" E 158.97 feet;
 

  557. S 24°17/06// E 143.43 feet;
 

  558. S 29°51/56,/ E 342.49 feet;
 

  559. S 27°13'56" E 207.02 feet;
 

  560. S 31°21'49" E 207.64 feet;
 

  561. S 31°36W' E 259.29 feet;
 

  562. S 21°21'03// E 145.90 feet;
 

  563. S 37°11'38" E 220.43 feet;
 

  564. S SO^l^" E 282.89 feet;
 

  565. S 50°01'49" E 399.67 feet;
 

  566. S 61°37'46,/ E 190.63 feet;
 

  567. S 62°11/18// E 207.62 feet;
 

  568. S
  
   §3°3Q'ñ7"
  
  E 218.19 feet;
 

  569. S
  
   m°Q5'47"
  
  E 255.33 feet;
 

  570. S 69°08'03" E 255.80 feet;
 

  571. S 70°48'14// E 226.37 feet;
 

  572. S 72°20,56" E 267.92 feet;
 

  573. S 76°21,40// E 227.95 feet;
 

 
   *452
   
  574. S 64°54'34" E 176.94 feet;
 

  575. N 75°37'59" E 61.78 feet;
 

  576. S 68°25'23" E 123.64 feet;
 

  577. S 76°10'47" E 195.50 feet;
 

  578. S 78°39'45'/ E 241.42 feet;
 

  579. S 76°15'18" E 179.92 feet;
 

  580. S 78°38'58" E 171.99 feet;
 

  581. S 83°50'42" E 210.50 feet;
 

  582. S 81°30'12" E 195.47 feet;
 

  583. S 73°38'32" E 249.36 feet;
 

  584. S 80°08'31" E 178.26 feet;
 

  585. S 75°15'19" E 328.39 feet;
 

  586. S 80°54'17" E 150.18 feet;
 

  587. S 73°52'56" E 178.14 feet;
 

  588. S 84°50'48" E 129.59 feet;
 

  589. S 81°50'59" E 226.00 feet;
 

  590. S 75°53'33" E 265.24 feet;
 

  591. S 81°48'54" E 372.97 feet;
 

  592. S 79°11'16" E 380.14 feet;
 

  593. S 79°25'58" E 134.03 feet;
 

  594. S 24°53'23" E 22.03 feet;
 

  595. S 85°54'52" E 72.28 feet;
 

  596. N 82°15'33" E 50.78 feet;
 

  597. S 71°40'20" E 86.15 feet;
 

  598. S 83°37'15" E 80.91 feet;
 

  599. S 66°03'44" E 125.08 feet;
 

  600. S 76°47'34" E 122.03 feet;
 

  601. S 69°35'21" E 96.57 feet;
 

  602. S 76°00'45" E 117.16 feet;
 

  603. S 65°00'50" E 82.93 feet;
 

  604. S 75°01'00" E 95.23 feet;
 

  605. N 83°00'55" E 78.04 feet;
 

  606. S 61°17'50" E 77.21 feet;
 

  607. S 72°34'01" E 217.36 feet;
 

  608. S 62°10'44" E 108.33 feet;
 

  609. S 73°25'49" E 266.60 feet;
 

  610. S 70°21'51" E 126.29 feet;
 

  611. S 73°29'15" E 205.96 feet;
 

  612. S 77°22'14" E 103.14 feet;
 

  613. S 68°34'55" E 111.26 feet;
 

  614. N 65°27'32" E 80.54 feet;
 

  615. S 83°38'02" E 38.87 feet;
 

  616. S 57°26'10" E 108.65 feet;
 

  617. S 67°34'57" E 239.54 feet;
 

  618. S 81°18'34" E 87.76 feet;
 

  619. S 70°20'55" E 250.11 feet;
 

  620. S 66°24'51" E 140.26 feet;
 

  621. S 62°57'51" E 130.66 feet;
 

  622. S 72°52'00" E 257.10 feet;
 

  623. S 63°05'55" E 128.72 feet;
 

  624. S 71°10'45" E 229.60 feet;
 

  625. S 62°58'43" E 104.42 feet;
 

  626. S 69°05'40" E 234.01 feet;
 

  627. S 65°04'36" E 136.12 feet;
 

  628. S 59°05'12" E 138.55 feet;
 

  629. S 67°56'20" E 145.05 feet;
 

  630. S 64°55'40" E 102.65 feet;
 

  631. S 62°11'03" E 135.63 feet;
 

  632. S 65°23'19" E 127.50 feet;
 

  633. S 56°52'07" E 125.46 feet;
 

  634. S 50°59'31" E 225.36 feet;
 

  635. S 55°08'58" E 105.86 feet;
 

  636. S 67°01'55" E 118.11 feet;
 

  637. S 60°57'13" E 150.40 feet;
 

  638. S 48°49'30" E 84.48 feet;
 

  639. S 65°35'56" E 142.48 feet;
 

  640. N 89°23'45" E 41.73 feet;
 

  641. S 57°51'45" E 125.91 feet;
 

  642. S 56°29'17" E 262.48 feet;
 

  643. S 59°40'11" E 156.98 feet;
 

  644. S 48°27'19" E 212.94 feet;
 

  645. S 66°08'37" E 100.78 feet;
 

  646. S 55°01'47" E 129.23 feet;
 

  647. S 52°28'46" E 204.68 feet;
 

  648. S 61°12'11" E 181.21 feet;
 

  649. S 37°39'48" E 66.00 feet;
 

  650. S 49°08'11" E 92.35 feet;
 

  651. S 58°48'24" E 90.78 feet;
 

  652. S 38°03'31" E 92.27 feet;
 

  653. S 43°43'07" E 88.54 feet;
 

  654. S 51°32'30" E 82.61 feet;
 

  655. S 41°00'07" E 99.90 feet;
 

  656. S 46°08'39" E 210.71 feet;
 

  657. S 51°32'03" E 97.74 feet;
 

  658. S 40°54'29" E 214.05 feet;
 

  659. S 02°47'21" W 38.23 feet;
 

 
   *453
   
  660. S 46°39'58" E 84.63 feet;
 

  661. S 28°51'47" E 212.26 feet;
 

  662. S 39°10'09" E 69.39 feet;
 

  663. S 26°39'24// E 148.20 feet;
 

  664. S 20°17/51" E 50.30 feet;
 

  665. S 36°10'31" W 25.90 feet;
 

  666. S 30°25'15" E 27.33 feet;
 

  667. N 67°09'38" E 23.47 feet;
 

  668. S 34°19/33// E 78.49 feet;
 

  669. S 27°46'57" E 104.39 feet;
 

  670. S 22°20'57// E 205.31 feet;
 

  671. S 20°34/38// E 212.08 feet;
 

  672. S 23°12'41" E 100.53 feet;
 

  673. S 10°39'41'" E 92.86 feet;
 

  674. S 13°51'46" E 181.10 feet;
 

  675. S 26°25/ll" E 100.51 feet;
 

  676. S 28°48'18// E 266.84 feet;
 

  677. S 26°24/33'/ E 289.20 feet;
 

  678. S
  
   30°55'21"
  
  E 250.10 feet;
 

  679. S 30°00'26" E 294.96 feet;
 

  680. S 27°05'45" E 298.90 feet;
 

  681. S 26o36/05" E 246.59 feet;
 

  682. S 24°04'14" E 129.16 feet;
 

  683. S 18°24'10" E 263.99 feet;
 

  684. S 19°38'55" E 108.55 feet;
 

  685. S 11°09'29" W 14.06 feet;
 

  686. S 21°46/47// E 230.73 feet;
 

  687. S 27°14,52" E 76.93 feet;
 

  688. S 09°59'07" E 172.96 feet;
 

  689. S 02°16/55" W 83.13 feet;
 

  690. S 14°23'28" E 251.35 feet;
 

  691. S 08°12'25" E 193.98 feet;
 

  692. S 07o37'21" E 115.12 feet;
 

  693. S 03°08'44" E 121.00 feet;
 

  694. S 07°49,00" W 184.40 feet;
 

  695. S 11°40'00" W 274.65 feet;
 

  696. S 18°06/52// W 176.99 feet;
 

  697. S 25°11'15" W 223.41 feet;
 

  698. S 01°37'33// W 50.40 feet;
 

  699. S 76°11,04" W 28.35 feet;
 

  700. S 15°18'44" W 45.74 feet;
 

  701. S 44°01'15" W 77.38 feet;
 

  702. S 33°20'32" W 198.24 feet;
 

  703. S 09°45'36" W 31.97 feet;
 

  704. S 67°36'06" W 56.14 feet;
 

  705. S 30°28,52" W 37.06 feet;
 

  706. S 59°19'13" W 148.03 feet;
 

  707. S 89°59'46" W 146.03 feet;
 

  708. S 56°07'09" W 190.70 feet;
 

  709. S 76°39'12/' W 70.74 feet;
 

  710. S 64°10'36,/ W 100.87 feet;
 

  711. S 71°59'42,/ W 265.87 feet;
 

  712. S 68o05'09" W 92.39 feet;
 

  713. S 49°57'27" W 34.37 feet;
 

  714. S 68°45'32" W 110.52 feet;
 

  715. S 51°21/10" W 225.77 feet;
 

  716. S 46°51/11,/ W 142.59 feet;
 

  717. S 40°21'42" W 124.78 feet;
 

  718. S 42°48/55// W 102.20 feet;
 

  719. S 53°23'18" W 129.18 feet;
 

  720. S 43°39/06" W 147.26 feet;
 

  721. S
  
   42°32'22"
  
  W 148.07 feet;
 

  722. S 46°14,58" W 232.20 feet;
 

  723. S 38°16'09" W 121.21 feet;
 

  724. S 28°33'33,/ W 51.79 feet;
 

  725. S
  
   55°17'4.4:"
  
  W 105.12 feet;
 

  726. S 43°08,25,/ W 192.62 feet;
 

  727. S 42°58734" W 74.89 feet;
 

  728. S 25°27/32,/ W 71.81 feet;
 

  729. S 55°28/32" W 125.31 feet;
 

  730. S 53°23731" W 107.61 feet;
 

  731. S 47°49'50" W 99.52 feet;
 

  732. S 61°59'40" W 100.69 feet;
 

  733. S 54°25'51" W 181.68 feet;
 

  734. S 76°32'427/ W 24.63 feet;
 

  735. S 48°29748" W 233.50 feet;
 

  736. S 86°22'11"
  
   W
  
  43.75 feet;
 

  737. S 54°55'02" W 102.72 feet;
 

  738. S 49°59'24// W 112.67 feet;
 

  739. S
  
   53°07'51"
  
  W 160.74 feet;
 

  740. S 60°24/15" W 81.03 feet;
 

  741. S 45°44,09// W 50.10 feet;
 

  742. S 63018'46" W 48.23 feet;
 

  743. S 77°17'01,/ W 29.80 feet;
 

  744. S 56012'52" W 198.12 feet;
 

  745. S
  
   63°10'28"
  
  W 110.12 feet;
 

 
   *454
   
  746. S 57°00'17" W 106.34 feet;
 

  747. S 69°35'07" W 113.41 feet;
 

  748. S 64°34'41" W 114.10 feet;
 

  749. S 56°22'36" W 124.00 feet;
 

  750. S 48°21'41// W 331.65 feet;
 

  751. S 34°59'21" W 214.69 feet;
 

  752. S 29°28'22" W 117.25 feet;
 

  753. S 24°56'24" W 83.26 feet;
 

  754. S 18°48'55" W 77.17 feet;
 

  755. S 10°42'08// E 162.73 feet;
 

  756. S 22°47'29// E 164.14 feet;
 

  757. S 06°41/13// W 24.99 feet;
 

  758. S 21°01'39" E 166.38 feet;
 

  759. S 65°05'14" E 18.30 feet;
 

  760. S 19°32'21" E 62.85 feet;
 

  761. S 36°38'05" E 46.76 feet;
 

  762. S 08°34'36" E 104.14 feet;
 

  763. S 29°56'22" E 74.54 feet;
 

  764. S 36°38'32" E 106.20 feet;
 

  765. S 41°28'29" E 94.29 feet;
 

  766. S 45°24'24" E 247.11 feet;
 

  767. S 36°11'07" E 118.17 feet;
 

  768. S 22°29'31" E 56.86 feet;
 

  769. S 36°37/24" E 132.95 feet;
 

  770. S 32°53'13// E 228.74 feet;
 

  771. S 25°33'10" E 123.78 feet;
 

  772. S 36°05'29" E 305.24 feet;
 

  773. S 38°58'11" E 343.15 feet;
 

  774. S 37°14'51" E 283.75 feet;
 

  775. S 40°41'02" E 253.31 feet;
 

  776. S 44°23'34" E 320.92 feet;
 

  777. S 51°39'29" E 47.02 feet;
 

  778. S 38°17/13// E 189.64 feet;
 

  779. S 29°41'54// E 244.71 feet;
 

  780. S 67°34/27" E 25.22 feet;
 

  781. S 31°44,33" E 126.08 feet;
 

  782. S 48“31/24" E 48.21 feet;
 

  783. S 07°36'37" W 19.48 feet;
 

  784. S 33°21/25" E 208.40 feet;
 

  785. S 26°22/29" E 222.13 feet;
 

  786. S
  
   35°15'47"
  
  E 216.91 feet;
 

  787. S
  
   77°17'17"
  
  E 27.49 feet;
 

  788. S 17°56,13,/ E 61.86 feet;
 

  789. S 37°08'35" E 66.73 feet;
 

  790. S 29°10'16// E 110.25 feet;
 

  791. S 34°06,21" E 243.12 feet;
 

  792. S 40°20,23// E 142.82 feet;
 

  793. S 30°43/37" E 107.41 feet;
 

  794. S 40°38/33// E 322.38 feet;
 

  795. S 01°33'17" E 23.22 feet;
 

  796. S 37°48,53" E 271.36 feet;
 

  797. S 36°17/19// E 318.41 feet;
 

  798. S 34°48/10// E 266.05 feet;
 

  799. S 38°38'40" E 236.92 feet;
 

  800. S 42°56/22// E 324.31 feet;
 

  801. S 42°15'21,/ E 262.89 feet;
 

  802. S 41°43'45" E 284.81 feet;
 

  803. S 39°24'11" E 167.70 feet;
 

  804. S 32°32'27" E 82.56 feet;
 

  805. S 41°59/11,/ E 132.75 feet;
 

  806. S 32°47'44" E 331.64 feet;
 

  807. S 34° 13/24// E 306.32 feet;
 

  808. S 25°48/55,/ E 127.47 feet;
 

  809. S 24°26/47" E 226.80 feet;
 

  810. S 18°52/19" E 225.90 feet;
 

  811. S 34°24/10'/ E 53.06 feet;
 

  812. S 06°14'11" E 64.07 feet;
 

  813. S 23°02'28// E 110.30 feet;
 

  814. S 19°41,29" E 204.51 feet;
 

  815. S 04°50'10" W 49.82 feet;
 

  816. S 38°56'27" W 64.31 feet;
 

  817. S 25°16'25" W 57.74 feet;
 

  818. S 43°14/24" W 54.57 feet;
 

  819. N 65°45'19" W 29.05 feet;
 

  820. S 23°32'11" W 53.92 feet;
 

  821. S 00°16/24" E 71.24 feet;
 

  822. S 67°44/27" W 30.91 feet;
 

  823. S 35°24/30// W 78.34 feet;
 

  824. S 18°27/07" W 127.83 feet;
 

  825. S 08°21'04" W 78.49 feet;
 

  826. S 08°01'19" E 45.65 feet;
 

  827. S 21°57,03" E 56.20 feet;
 

  828. S 25°48'52" W 67^4 feet;
 

  829. S 13°41'05" W 89.36 feet to a standard California State Lands
   
   *455
   
  Commission brass tablet set in concrete stamped “S-LB-ARIZ LB-1002-1981” having California Coordinate System, Zone 6 coordinates of x=2,482,687.70 feet and y=387,-254.91 feet, from which United States Water and Power Resources Service (formerly United States Bureau of Reclamation) Station RUIN bears N 45°17'59" E 524.27 feet; thence, the following two courses:
 

  830. S 54° 13'42" W 37.57 feet;
 

  831. S 00°13'08" E 60.22 feet to a point having California Coordinate System, Zone 6 coordinates of x=2,482,657.45 feet and y=387,-172.73 feet as said point is shown on the Davis Lake Area Project Administrative Maps, herein before described; thence,
 

  832.N 77°38'10" W 213.25 feet to a point on the centerline of the former channel of the Colorado River, said point also being the point of beginning of the herein described parcel of land.
 

  Bearings and distances in the above description are based on the California Coordinate System, Zone 6.
 
